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 8                     THE UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION
10
     MARIANO BENITEZ, individually and ) Case No.: 8:19-cv-00098 JLS (DFMx)
11
     on behalf of others similarly situated, )
12                                           )
13
                       Plaintiff,            ) ORDER EXTENDING TIME TO
                                             ) FILE RESPONSE TO COMPLAINT
14               vs.                         )
15
                                             )
     POWERLINE FUNDING LLC, a New )
16   York limited liability company,         )
17
                                             )
                       Defendant             )
18                                           )
19                                           )

20
          On stipulation of parties, the Court extends the time for POWERLINE

21
     FUNDING LLC is to file its response to the Complaint. POWERLINE FUNDING

22
     LLC may file its answer or otherwise respond to the Complaint no later than March

23
     18, 2019.

24
          IT IS SO ORDERED.

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          Dated: March 14, 2019

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27                                      Hon. Josephine L. Staton
                                        United States District Judge
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